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 1                        UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
 2                                LAREDO DIVISION

 3                                    )         CASE NO: 23-90147-drj
                                      )
 4      MOUNTAIN EXPRESS OIL COMPANY )          Laredo, Texas
        and                           )
 5      OFFICIAL COMMITTEE OF         )         Tuesday, June 20, 2023
        UNSECURED CREDITORS,          )
 6                Debtors.            )         4:13 p.m. - 4:34 p.m.
        ------------------------------)
 7

 8                                      TRIAL

 9                     BEFORE THE HONORABLE DAVID R. JONES
                          UNITED STATES BANKRUPTCY JUDGE
10

11      APPEARANCES:

12      For the Debtor:             JEFF POMERANTZ
                                    Pachulski Stang Ziehl & Jones LLP
13                                  480 Third Avenue, 34th Floor
                                    New York, NY 10017
14
                                    BENJAMIN W. KADDEN
15                                  Lugenbuhl Wheaton et al
                                    601 Poydras Street, Suite 2775
16                                  New Orleans, LA 70130

17      For M&Y Pump Services:      RANDY WILLIAMS

18      Court Reporter:             Unknown

19      Courtroom Deputy:           Unknown

20      Transcribed by:             Veritext Legal Solutions
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23

24      Proceedings recorded by electronic sound recording;
        Transcript produced by transcription service.
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 1                LAREDO, TEXAS; DAY, MONTH DATE, YEAR; TIME

 2                                (Call to Order)

 3                 THE COURT:    All right, folks.     Are we ready?

 4                 MR. POMERANTZ:    Yes, Your Honor.

 5                 THE COURT:    All right.    Good afternoon, everyone.

 6      The time is 4:14.    I do apologize for the late start.        Today

 7      is June 20th, 2023.     This is the docket for Houston, Texas.

 8      On the 4:00 docket we have the jointly administered cases

 9      under Case Number 23-90147, Mountain Express Oil Company.

10      Folks, please don't forget to record your electronic

11      appearance.    If this is new for you or it's been a while,

12      it's a quick trip to my website, couple of mouse clicks.

13      You can do that at any time prior to the conclusion of this

14      hearing, or the hearing this afternoon.

15                 The first time that you speak, whether it be,

16      remotely or in the courtroom, if you would, please state

17      your name and who you represent.       That really does serve as

18      a good point of reference in the event that a transcript

19      request is made.

20                 Again, if you are in the courtroom, because we

21      have some folks who are watching, if you would speak only

22      from the lectern.    That's the only place we have a camera

23      and I want you to both be seen and be heard.

24                 Finally, we are recording this afternoon using

25      Court Speak.    We'll get the audio up on the docket shortly
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 1      after conclusion of the hearing.

 2                  And with that, let me ask Mr. Pomerantz, are you

 3      watching, or are you starting us off?       I saw -- ah, there we

 4      go.    I got a waved hand.    All right.    But Mr. Pomerantz, I

 5      did activate the hand-raising feature because of the noise.

 6      If you know you're going to be speaking and you're on the

 7      line, if you'd give me 5 star on your telephone, I'll get

 8      you unmuted.    All right.    No takers.

 9                  So, Mr. Pomerantz, I haven't seen the 5 star yet.

10      There you go.    All right, Mr. Pomerantz.      No, you're good.

11      Ah, let me try this again.      Don't touch anything.     How about

12      now?

13                   MR. POMERANTZ:    Okay.   Can you hear me, Your

14      Honor?

15                  THE COURT:    Loud and clear.    Thank you for asking.

16                  MR. POMERANTZ:    Can you hear me?

17                  THE COURT:    Yes, sir.

18                  MR. POMERANTZ:    Good afternoon, Your Honor.      Jeff

19      Pomerantz, Pachulski Stang Ziehl Jones.        And as I always do,

20      I take Your Honor's orders extremely seriously.         When you

21      said that anyone who would be actively participating in

22      today's hearing should be in your courtroom in the flesh, I

23      am here to observe.      Mr. Ben Kadden and his colleagues will

24      be handling that on behalf of the Debtors.

25                  THE COURT:    All right.   Thank you.   All right.
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 1      Mr. Kadden, good afternoon.      Do you want to just take a

 2      couple minutes, tell me where we are, what progress we've

 3      made, what progress we haven't made?

 4                  MR. KADDEN:   Good afternoon, Your Honor.      Benjamin

 5      Kadden, here today with Benjamin Wallen, as well as Michael

 6      Healy, the CRO, and our two proposed witnesses.

 7                  We're today, Your Honor, unfortunately not in the

 8      courtroom with the people that have caused a massive amount

 9      of expenditure of time and frustration and professional

10      fees.

11                  We're here today, Your Honor, to deal with yet

12      another violation of the automatic stay, and unfortunately

13      ad unlike the prior ones, which involved isolated vendors,

14      this involves a group of six New York dealers in upstate New

15      York who have taken it upon themselves to remove the

16      Debtors' credit card systems and black boxes from their

17      pumps, which thereby deprives the Debtors of the ability and

18      opportunity to figure out how much is being sold, what is

19      being sold.   And because these are stores that operate on a

20      commission basis, they've essentially stolen the Debtors'

21      fuel and aren't accounting for it.

22                  When this was discovered, the Debtors immediately

23      contacted me.    They also contacted the representatives

24      directly.   And I sent notices of violation of stay to each

25      of the relevant parties.     In addition to the six dealers,
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 1      there were two additional parties who we had reason to

 2      believe were either participating in or coordinating

 3      potentially the actions of the six dealers, those being

 4      BOARD MEMBER Petro, represented by VM Petro, represented by

 5      Ms. Tran, and M&Y Pump Service, who today is appearing

 6      through Mr. Randy Williams.

 7                 To cut to the end of the story on VM Petro and

 8      M&Y, both of those parties have reached out to the Debtor.

 9      I will let Mr. Williams make his statement on the record

10      regarding M&Y, that they did not participate or have any

11      knowledge regarding the contractual relationships.         They

12      were merely acting as a vendor.      They have agreed not to do

13      any further work at these six sites without the written

14      consent of the Debtors.     They have agreed to submit a sworn

15      statement that says that the equipment that was removed and

16      disconnected was left at the stores.       And they've agreed to

17      provide the identity of the parties who were ordering the

18      removal and disconnection of the store orders -- of the

19      credit card systems.

20                 VM Petro is a fuel supplier.       It's an entity that

21      we have a commercial relationship with.        There was some

22      concern, really twofold.     Number one, that they were

23      participating and coordinating the efforts by these six

24      dealers.   And then number two, their counsel, in response to

25      my notice of violation, had submitted a demand for payment
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 1      for an amount which included prepetition amounts.         They have

 2      subsequently submitted a declaration, making clear that they

 3      didn't believe that they were involved in any way in any

 4      sort of nefarious activity.      And they've withdrawn the

 5      prepetition demand.

 6                 And so, at least with respect today, Your Honor,

 7      to VM Petro, who is here through counsel, and M&Y, who I

 8      believe is here through counsel but is not in the courtroom,

 9      the Debtors have authorized me to withdraw the request for

10      sanctions, subject to the statements and agreements that I

11      just recited to Your Honor.

12                 THE COURT:    All right.    Let me ask Mr. Williams,

13      is there any statement that you wanted to make, needed to

14      make, with respect to your clients, or are you just agreeing

15      with what Mr. Kadden said?

16                 MR. WILLIAMS:    Just briefly, Your Honor.      Got

17      contacted late yesterday, got hired this morning by M&Y Pump

18      Services Inc.    Again, my name is Randy Williams.       My contact

19      has been Umit, U-M-I-T, Ayazglu, A-Y-A-Z-G-L-U.         He is a

20      service manager with M&Y Pump Services.

21                 Just for the record, they did receive five calls

22      from five different -- five of these different stations.

23      We've identified the one station that did not contact us,

24      that has apparently been disconnected.        M&Y says they did

25      not do that and they don't know who did it.        We've provided
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 1      the names of the people that we did have that made the calls

 2      for the service.    We will provide sworn statements that the

 3      technicians just disconnected the equipment and installed

 4      new equipment.    They took nothing with them.      They left it

 5      in the locations.    And they have not been back since this

 6      happened in May.

 7                 We will agree and are willing to have a

 8      stipulation or an order of this Court that we will not

 9      disconnect -- M&Y will not disconnect any other Mountain

10      Express dealers again unless they instruct us that that's

11      something that we can do.

12                 My client does want to continue to provide service

13      because they update these systems, and in fact between

14      yesterday and today they had two calls from other Mountain

15      Express dealers whose systems were simply not working, where

16      they needed to send out technicians so that they could sell

17      gas.   Because without them working, of course, they can't

18      operate the pumps.

19                 And again, with that, I think that's everything

20      that Mr. Kadden and I talked about today to try and get this

21      resolved, and will work with the Debtor moving forward.

22                 THE COURT:    All right.    And if it turns out, as

23      you work your way through this, if you decide that you need

24      an order, so long as it's signed off by everybody, I'm more

25      than happy to do it.
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 1                 MR. WILLIAMS:    I'm taking Mr. Kadden's lead.        What

 2      he needs, that'll make him happy.       Given that they've pulled

 3      down the sanctions, we have said we'll only cooperate.           And

 4      again, we do do business for other Mountain Express

 5      customers and my client very much wants to continue to do

 6      the updates and the service going forward.

 7                 THE COURT:    Right.   Which is why I was -- that's

 8      why the offer.    If they need something -- because I'm

 9      assuming, you know, you're a referral from somebody and so

10      I'm assuming there's someone in New York that they depend on

11      for advice and guidance, and if I can give comfort to a

12      process that works, I'm more than happy to do it that's all

13      I was trying to say.

14                 MR. WILLIAMS:    Thank you very much, Your Honor.

15                 THE COURT:    Right.   Thank you.    All right.      Mr.

16      Kadden?

17                 MR. KADDEN:    Your Honor, with those two issues out

18      of the way, we're really left with the elephant in the room,

19      which is the six dealers who are not in the room, are not in

20      the room through counsel.

21                 Your Honor, the significant concern here is that

22      each of these dealers operates stores that sell gas on a

23      commission basis, which means that the fuel that is

24      delivered to them belongs to the Debtors' estate.         The

25      credit card equipment is vital because that is how the money
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 1      goes through the credit card system to the fuel supplier;

 2      the Debtor gets its pay.

 3                   THE COURT:    Yeah, I got all of that --

 4                   MR. KADDEN:   All of that disconnection --

 5                   THE COURT:    -- so let me --

 6                   MR. KADDEN:   I'm sorry, Your Honor.

 7                   THE COURT:    Let me stop you.   I got all of that.

 8      Been down this road before.      So, I signed the order that I

 9      was given.    But it just says a fully authorized agent.        I

10      can't issue a bench warrant, which is what I'm going to do

11      for an authorized agent.      I need specific individuals.      I

12      need the president of entities and I need for them to have

13      an opportunity to appear.      I need to be able to serve them

14      so that the process is satisfied.

15                   If they then don't show up, I'll then have them

16      arrested and I'll transfer them within the federal prison

17      system to Houston.     From New York, my guess is that's about

18      a six-week trip.    I'm serious about this.      You asked for

19      help.   You're going to get it.     But we all have to do our

20      jobs.

21                   And you know, in terms of -- and I'm just giving

22      you this because to go forward, you know, you can put on

23      your case and I got it, I can sanction the entities.          But my

24      view is the way to get action is to get the attention of

25      individuals, some of whom I have no doubt are listening, and
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 1      I am talking to them, and I mean exactly what I say.           I'm

 2      not going to tolerate this.        But I will eventually figure

 3      out who the right person is, because that's your job.           And

 4      then I will get them here, and then that's my job.

 5                   So, with that understanding, what you want to do

 6      today?

 7                   MR. KADDEN:   Your Honor, we have two witnesses who

 8      traveled in today who are not --

 9                   THE COURT:    Okay.

10                   MR. KADDEN:   -- particularly heavily involved.

11      One is Mr. Jay Lally, and the second is Ms. Lisa Ciotoli.

12      They each had very limited testimony.        We submitted

13      declarations by each of them.       I was going to offer those --

14      proffer those as their testimony, subject to any opportunity

15      to cross-examine.

16                   I'm also just as happy to have that taken up when

17      the full group is here.      I think it's important that --

18                   THE COURT:    Well, they had --

19                   MR. KADDEN:   -- President show up.

20                   THE COURT:    I'm assuming that you've got good

21      service and that you can prove that up.         You know, I don't

22      know why I should inconvenience those witnesses if there's

23      been good notice.     I'm perfectly happy to take the

24      testimony.    I would think really hard about whether or not

25      you want to do this by proffer or whether or not you want to
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 1      do this by Q and A.      It's totally up to you.     It's your

 2      case.    I'm not going to tell you which way to go or not.

 3                  But what I am telling you is this is an affront to

 4      my process.    And this is not something that's just going to

 5      stand.   This is stealing.     And this -- stealing is not

 6      something I'm going to tolerate.

 7                  MR. KADDEN:    Your Honor, could I have one minute?

 8                  THE COURT:    Of course.

 9                  MR. KADDEN:    Thank you.

10                  THE COURT:    While he's doing that, Mr. Gibbs, do

11      you have -- will you -- do you have a statement on behalf --

12      not now -- I want Mr. -- I want folks to be back in here.

13      But do you have comments on behalf of the Committee?           Have

14      you looked at this?      Are you involved in this?

15                  MR. GIBBS:    It goes sequentially.     I don't have a

16      comment.    We have looked at it.      We are involved in it.     We

17      are supportive of the relief being requested.         But this is

18      the Debtors' motion.

19                  THE COURT:    I got it.    I just --

20                  MR. GIBBS:    We share your outrage.

21                  THE COURT:    Okay.   Mr. Kadden?

22                  MR. KADDEN:    Your Honor, after talking to Mr.

23      Healy, it's the Debtors' preference to put on its case at a

24      single hearing.     If we could have 24 hours, 12 hours, to

25      submit a revised order to show cause that is inclusive of
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 1      the relevant parties' names?

 2                  THE COURT:    What I want you to do is I want you to

 3      trace -- you know, do whatever it is you have to do to

 4      figure out who the highest officer that you can identify is.

 5                  MR. KADDEN:    Mm hmm.

 6                  THE COURT:    Then call Mr. Alonzo, get a date.

 7      When you're ready to submit that, get a date for the hearing

 8      so you can plug that in.      I want folks to have five to seven

 9      days to retain counsel and make their plane reservations.

10      They should have already done it by now, but they may not

11      leave and I want them to -- I want them to have ample time

12      to put their affairs in order.

13                  I am hoping that to the extent folks are

14      listening, they hear my voice, they hear the resolve in my

15      voice, and that you get some reach-outs to -- you know, I

16      don't know -- I don't know what happened.         I mean, I've not

17      heard the other side of the story.        If mistakes were made,

18      mistakes can be rectified.      If it was an attempt to game the

19      system, they picked the wrong game to play in.

20                  MR. KADDEN:    Understood, Your Honor.

21                  THE COURT:    This is never worth freedom, and

22      that's what these folks have put at risk is their freedom.

23      Not to mention their economic future.        So, when you get that

24      done and you're ready, reach out for a hearing date to Mr.

25      Alonzo.   I'll set that hearing and we'll go from there.
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 1      Make sure you're segregating all of your time.          The estate's

 2      not going to bear this cost.       That includes, to the extent

 3      that you brought witnesses today, their travel costs, their

 4      time, whatever -- whatever it cost, the Debtor is not going

 5      to spend one penny on this.

 6                  MR. KADDEN:    On that point, Your Honor, I had a

 7      resistible suggestion that perhaps now would be the time to

 8      discuss.

 9                  THE COURT:    Sure.

10                  MR. KADDEN:    Which is I see this process as sort

11      of bifurcated.     One is, were there stay violations?       And

12      that evidence is one bucket of evidence.         Number two, what

13      are the damages that we would be seeking in the form of

14      compensatory sanctions.      And I wonder if it makes sense to

15      have an initial hearing where the focus is, were there stay

16      violations?    And then once they have insured compliance,

17      then the very numbers that you're talking about in terms of

18      professional fees, the burn will stop.

19                  The Debtor in this case is losing money daily

20      because not only have they taken them off the system, they

21      are no longer buying fuel from us, which means that the

22      profit margin that this Debtor enjoys -- and they're also

23      not paying rent.     Each of those things is continuing every

24      single day.    An so I thought maybe it made sense to have the

25      damages hearing separated from the stay violation hearing.
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 1      But --

 2                  THE COURT:    All fine by me.

 3                  MR. KADDEN:    Okay.

 4                  THE COURT:    But I've got to get everybody here.

 5                  MR. KADDEN:    Oh, 100 percent, Your Honor.

 6                  THE COURT:    And you know, to the extent that

 7      property that belongs to the Debtor has been stolen, I

 8      expect the appropriate authorities to be notified and police

 9      reports filed.     I'm going to -- I will do my own

10      responsibility and make sure that I've got the U.S. -- U.S.

11      Trustee is here, so Mr. Ruff's on the line.         To the extent

12      that I need to go further and notify the FBI, I will do that

13      as well.    This is going to get remedied one way or the

14      other.   We're just not going to behave this way in a case

15      that I oversee.

16                  MR. KADDEN:    One final request, Your Honor, for

17      this first order.     Can we include a very short three days,

18      five-day deadline for them to allow for the compliance

19      inspection at each of the stores?        At this point, what Ms.

20      Ciotoli's testimony would have said is that our monthly

21      inspections have been blocked because access has been

22      blocked, which means that we're not in a position to do the

23      inspection of the underground tanks, do the inspection of

24      the fuel.    There's vapors, there's --

25                  THE COURT:    You don't need three days.      You have -
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 1      -

 2                   MR. KADDEN:   Okay.

 3                   THE COURT:    -- 24 hours.

 4                   MR. KADDEN:   24 hours.     Thank you, Your Honor.

 5                   THE COURT:    All right.    So, do that.   Mr. Ruff, do

 6      you have any questions, comments?         I know that you're new to

 7      this.   I assume that you've read everything?

 8                   MR. RUFF:    I have.    Thank you, Your Honor.    Jayson

 9      Ruff, for the U.S. Trustee.         I have read everything.    I

10      don't have any questions at this point.         But obviously,

11      we're paying attention to what's going on here and we'll

12      respond appropriately.

13                   THE COURT:    All right.    Thank you.   With that, Mr.

14      Kadden, anything else?      Yes, Mr. Gibbs?

15                   MR. GIBBS:    I think I violated one of the Court's

16      instructions.    You asked the first time we approach, we

17      identify ourselves for the record, and I didn't.          Chuck

18      Gibbs, with McDermott Will & Emery, counsel for the

19      Committee.    I apologize.

20                   THE COURT:    Oh, thank you, Mr. Gibbs.     All right.

21                   MR. KADDEN:   Your Honor, one further thing, if I

22      may.

23                   THE COURT:    Sure.

24                   MR. KADDEN:   I wanted on behalf of the Debtor to

25      express our sincere appreciation for you taking this
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 1      extremely seriously.      This is an issue, obviously, that is

 2      very scary for the Debtors, both in terms of liquidity and

 3      environmental safety, but it's also critically important

 4      that dealers across the country understand and appreciate

 5      the seriousness that this Court and the Debtors take, not

 6      only with regard to the automatic stay, but with regard to

 7      contractual obligations.

 8                  We have already filed one adversary proceeding.

 9      We have a hearing on Thursday from another dealer.          These

10      dealers live in a community where they talk to one another.

11      And to the extent that they're, you know, empowered by

12      inaction by the Debtors, which is why we're here today, I

13      hope that they get the message loud and clear that we aren't

14      going to sit on our hands and let them put our company and

15      the public at risk.

16                  THE COURT:    Debtors have got a responsibility to

17      act on behalf of all of its constituents, which I know it

18      is.   And I've got an obligation to protect the integrity of

19      the process itself.      And I know for a fact that I take my

20      job very seriously.

21                  So, with that, anything else we need to address

22      this afternoon?

23                  MR. KADDEN:    That's it, Your Honor.

24                  THE COURT:    All right.   We'll note -- and you know

25      who these four people are?
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 1                  MR. KADDEN:    Yes, Your Honor.

 2                  THE COURT:    All right.    And you know who those two

 3      people are?

 4                  MR. KADDEN:    Yes, Your Honor.

 5                  THE COURT:    All right.    And with that, I'll note

 6      that there's been no compliance with my order.          So that the

 7      entities themselves are in contempt, as set forth in the

 8      order.   And I am asking you to identify the most senior

 9      officer that you can identify, modify the order, require

10      their appearance.     Again, call Mr. Alonzo, get a hearing,

11      and we'll go from there.      All right?

12                  MR. KADDEN:    Understood, Your Honor.

13                  THE COURT:    All right.    Thank you.

14                  MR. KADDEN:    Thank you.

15                  THE COURT:    We'll be adjourned.

16                  CLERK:   All rise.

17            (Proceedings adjourned at 4:34 p.m.)

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 1                                  CERTIFICATION

 2

 3      I certify that the foregoing is a correct transcript from

 4      the electronic sound recording of the proceedings in the

 5      above-entitled matter.

 6      matter..

 7

 8

 9

10      Sonya Ledanski Hyde

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16

17

18

19

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22      Suite 300

23      Mineola, NY 11501

24

25      Date:   June 23, 2023
